Case 1:21-cv-01453-RGA-JLH Document 72 Filed 11/30/22 Page 1 of 3 PageID #: 7917




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 SAMSUNG ELECTRONICS CO., LTD. AND                  )
 SAMSUNG SEMICONDUCTOR, INC.,                       )
                                                    )
                        Plaintiffs,                 )
                                                    )
        v.                                          )        C.A. No. 21-1453 (RGA) (JLH)
                                                    )
 NETLIST, INC.,                                     )
                                                    )
                        Defendant.                  )
 NETLIST, INC.                                      )
                                                    )
                        Counter-Plaintiff,          )
                                                    )
 v.                                                 )
                                                    )
 GOOGLE LLC, ALPHABET INC.,                         )
 SAMSUNG ELECTRONICS CO., LTD. AND                  )
 SAMSUNG SEMICONDUCTOR, INC.,                       )
                                                    )
                        Counter-Defendants.         )


                         STIPULATION AND [PROPOSED] ORDER

                WHEREAS, the Scheduling Order submitted by the parties and entered by the

 Court (D.I. 61) contains certain inconsistencies between the dates set forth in the body of the

 Scheduling Order and those set forth in the table of dates attached to the Scheduling Order, and

 certain other deadlines set forth in the Scheduling Order fall on federal holidays; and

                WHEREAS, the parties wish to correct those inconsistencies and adjust the dates

 to avoid federal holidays;

                IT IS HEREBY STIPULATED AND AGREED by the parties, subject to the

 approval of the Court, as follows:

                1.      The parties shall submit a proposed Protective Order for consideration by

 the Court (D.I. 61, ¶ 3) no later than December 27, 2022;
Case 1:21-cv-01453-RGA-JLH Document 72 Filed 11/30/22 Page 2 of 3 PageID #: 7918




                2.      Netlist shall produce the file history for each asserted patent (id., ¶ 7.a) no

 later than December 2, 2022;

                3.      The deadline for the parties to exchange their lists of claim terms/phrases

 that they believe need construction (id., ¶ 11) shall be June 16, 2023;

                4.      The deadline for the parties to file their Joint Claim Construction Chart (id.,

 ¶ 11) shall be July 3, 2023; and

                5.      The deadline for Netlist to serve its opening claim construction brief (id.,

 ¶ 12) shall be July 18, 2023.

 MORRIS, NICHOLS, ARSHT & TUNNELL LLP              SHAW KELLER LLP


 /s/ Rodger D. Smith II                            /s/ Emily S. DiBenedetto
 Jack B. Blumenfeld (#1014)                        Karen E. Keller (#4489)
 Rodger D. Smith II (#3778)                        Emily S. DiBenedetto (#6779)
 1201 North Market Street                          I.M. Pei Building
 P.O. Box 1347                                     1105 North Market Street, 12th Floor
 Wilmington, DE 19899                              Wilmington, DE 19801
 (302) 658-9200                                    (302) 298-0700
 jblumenfeld@morrisnichols.com                     kkeller@shawkeller.com
 rsmith@morrisnichols.com                          edibenedetto@shawkeller.com

 Attorneys for Samsung Electronics Co., Ltd.       Attorneys for Netlist, Inc.
 and Samsung Semiconductor, Inc.,

 RICHARDS, LAYTON & FINGER, P.A.


 /s/ Kelly E. Farnan
 Kelly E. Farnan (#4395)
 One Rodney Square
 920 North King Street
 Wilmington, DE 19801
 (302) 658-9200
 farnan@rlf.com

 Attorneys for Google LLC and Alphabet Inc.

 November 30, 2022


                                                   2
Case 1:21-cv-01453-RGA-JLH Document 72 Filed 11/30/22 Page 3 of 3 PageID #: 7919




             SO ORDERED this ___ day of _______________, 2022.



                                                                 J.




                                         3
